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 4
 5 Attorneys for Plaintiffs CINCINNATI
   INSURANCE COMPANY AND
 6 SPRINFIELD MUSEUM OF ART
 7
 8
                           UNITED STATES DISTRICT COURT
 9
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11
   CINCINNATI INSURANCE                         CASE NO. 2:22 cv 01770 SB PD
12 COMPANY AND SPRINGFIELD
   MUSEUM OF ART,                               Hon. Stanley Blumenfeld, Jr.
13
            Plaintiffs,
14                                              NOTICE OF SETTLEMENT AND
        vs.                                     REQUEST TO VACATE JUNE 3,
15                                              2022 MANDATORY SCHEDULING
   ANDY ROCK F.A.C., LLC. AKA                   CONFERENCE ALONG WITH
16 ANDY ROCK-FAS, LLC AKA ANDY                  ALL RELATED DEADLINES
17 ROCK FINE ART SERVICES, LLC;
   CADOGAN TATE AKA CADOGAN                      Case transferred from U.S. District Court
18 TATE NEW YORK LIMITED; DIETL                  Southern District of Ohio to above court on
19 INTERNATIONAL; and JOHN                       3/24/2022
   DOE(S),
20
            Defendants.
21
22
23
24        TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
25 RECORD:
26        PLEASE TAKE NOTICE that Plaintiffs and Defendants have reached a
27 settlement in the above-referenced case. A formal settlement agreement will be
28 circulated between the parties for review and approval. The parties request that the
                                                                Case No. 2:22 cv 01770 SB PD
       NOTICE OF SETTLEMENT AND REQUEST TO VACATE JUNE 3, 2022 MANDATORY SCHEDULING
                       CONFERENCE ALONG WITH ALL RELATED DEADLINES
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 1 Court retain jurisdiction for sixty (60) days to give the parties time to finalize the
 2 settlement agreement and issue payment. Once all of the appropriate signatures have
 3 been obtained, settlement funds received and cleared, an executed Stipulation of
 4 Dismissal of the entire action will be filed. In the meantime, the parties request that
 5 the Court vacate the Mandatory Scheduling Conference scheduled on June 3, 2022,
 6 and all related deadlines.
 7
 8 DATED: May 20, 2022                   LAW OFFICES OF ROBERT A.
                                         STUTMAN, P.C.
 9
10
11                                       By:
12                                             Geoffrey A. Kraemer
13                                             Attorneys for Plaintiff CINCINNATI
                                               INSURANCE COMPANY AND
14                                             SPRINGFIELD MUSEUM OF ART
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28                                          2                   Case No. 2:22 cv 01770 SB PD
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 1                              CERTIFICATE OF SERVICE
 2
           I hereby certify that on this 20th day of May, 2022, I have electronically filed
 3
     the foregoing NOTICE OF SETTLEMENT AND REQUEST TO VACATE
 4
 5 JUNE 3, 2022 MANDATORY SCHEDULING CONFERENCE ALONG WITH
 6
     ALL RELATED DEADLINES with the Clerk of Court using the CM/ECF system,
 7
     which will then send a notification of such filing to all attorneys of record in this
 8
 9 action.
10
11                                                       /s/ Misty Guerra
12                                                            Misty Guerra

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28                                           3                   Case No. 2:22 cv 01770 SB PD
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